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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                     September 21, 2022
                      UNITED STATES DISTRICT COURT
                                                                      Nathan Ochsner, Clerk
                       SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

STATE OF TEXAS,                        §
                                       §
         Plaintiff,                    §
VS.                                    §           NO. 3:21-CV-309
                                       §
JOSEPH R. BIDEN, et al,                §
                                       §
         Defendants.                   §

                                   ORDER

       Before the court is the State of Texas’s motion for a temporary

restraining order and preliminary injunction. Dkt. 6. The defendants

responded on November 22, 2021. Dkt. 34. The State replied on November

29, 2021. Dkt. 36.

       On December 7, 2021, a district court in Georgia issued a nationwide

injunction that provided the relief requested in Texas’s motion. Georgia v.

Biden, 574 F. Supp. 3d 1337, 1357 (S.D. Ga. 2021). In light of that ruling, this

court convened a status conference with the parties to this action on

December 10, 2021, and announced a stay. Recently, the Eleventh Circuit

narrowed the nationwide injunction to the original parties, excluding Texas.

See Georgia v. President of the United States, No. 21-14269, 2022 WL

3703822, at *17 (11th Cir. Aug. 26, 2022).

       Given the above events, the parties are ordered to submit supplemental
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briefs (limited to 10 pages) no later than 21 days from the date of this order.

The briefs are to respond to whether this remains a live controversy, how the

Eleventh Circuit’s decision affects the originally requested relief, and what

changes, if any, are appropriate to the injunctive relief Texas originally

requested.

      Signed on Galveston Island this 21st day of September, 2021.



                                    ___________________________
                                    JEFFREY VINCENT BROWN
                                    UNITED STATES DISTRICT JUDGE




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